    Case 1:14-cr-00079-LJV-HKS         Document 66       Filed 11/09/15    Page 1 of 12




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                                14-CR-79A
              -v-

JEFFREY COLEMAN,

                Defendant.
___________________________________



                     REPORT, RECOMMENDATION AND ORDER

              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

on dispositive motions.



                              PRELIMINARY STATEMENT

              The defendant, Jeffrey Coleman (“the defendant”), is charged in an

indictment, along with co-defendant Steven Martinez (“the co-defendant”) and others

with having violated Title 21 U.S.C. §§ 841(a)(1), 846 and 856(a)(1). Dkt. #16. He has

filed a motion seeking to suppress the use of evidence at trial seized from him on

February 26, 2014, claiming that the search in question “was the product of an illegal

detention of the defendant and was conducted in the absence of probable cause and

without the voluntary consent of the defendant.” Dkt. #26, pp. 2-3, ¶ 2. He also seeks

suppression of statements attributed to him on the basis that he “was not read [his]

Miranda rights until after [he and officers] left the bus station and just as [he] was being
     Case 1:14-cr-00079-LJV-HKS                 Document 66           Filed 11/09/15         Page 2 of 12




placed in a car.” Dkt. #33, p. 3, ¶ 10. The government has filed a response to these

claims of the defendant. Dkt. #31.




                 An evidentiary hearing on the issues raised by the defendant was held on

May 26, 2015 and a transcript of that proceeding was filed on August 5, 2015. Dkt. #63.

The parties were given thirty days from the date of that filing to file post hearing legal

memoranda. The government filed its memorandum of law on September 8, 2015. Dkt.

#64. The defendant has late filed a memorandum. Dkt. #65. The matter was then take

under advisement by this Court.




                                                    FACTS 1

                 Prior to February 26, 2014, agents of the DEA, Buffalo Office, were

investigating the illegal drug activities of the co-defendant, Steven Martinez, and had

received information from a confidential informant “that Martinez’s source of supply was

coming to Buffalo from the New York City area to deliver approximately 800 grams of

heroin.” T. 5, 16. The confidential informant also described the person who would be

delivering the drugs as “a black male, bald head, heavier set” and stated that this

person “would be in transit to the Buffalo area utilizing the Greyhound Bus service.”

T. 6, 16-17.        On February 25, 2014, DEA agents obtained a search warrant for

Martinez’s residence located on Connecticut Street in Buffalo, New York as well as one

for his automobile. T. 5, 7, 24. The confidential informant also advised the agents of

1
  The facts are taken from the transcript of the evidentiary hearing held by this Court on May 26, 2015 and
references to same are designated as “T” followed by the appropriate page number(s).

                                                       -2-
    Case 1:14-cr-00079-LJV-HKS        Document 66        Filed 11/09/15   Page 3 of 12




other various locations that were utilized by Martinez “in the trafficking of heroin,”

including a location on West Delevan Avenue in Buffalo, New York. T. 6.



              On February 26, 2014, while conducting surveillance at the West Delevan

location, Martinez was observed in his automobile at that location and the defendant

was seen entering Martinez’s vehicle.      T. 8-9, 26.     Agent Zimilevich observed the

defendant entering Martinez’s vehicle and radioed a description of the defendant to the

other agents involved in the surveillance operation. T. 26. Surveillance of the Martinez

vehicle continued as it traveled to the downtown area of Buffalo until “it ultimately

stopped near the library downtown on Ellicott Street” where the defendant “exited the

vehicle with a wheeled luggage bag.” Surveillance of the defendant continued as he

“walked directly to the bus terminal.”    T. 9-10, 20.     The confidential informant had

advised the agents that Martinez “was to be transporting a drug courier to the bus

station” who was described as being a “black male, heavyset, in a green puffy coat.” T.

30, 38.



              In the meantime, Detective Cory Higgins directed the other officers to

“initiate a traffic stop of Martinez and execute the [search] warrant” for his vehicle. He

also directed the other agents to detain the defendant at the Greyhound Bus station.

 T. 10, 20.



              When the defendant arrived at the bus station, a number of agents took

hold of him and he was escorted to the NFTA police office located in the bus terminal



                                           -3-
       Case 1:14-cr-00079-LJV-HKS             Document 66   Filed 11/09/15   Page 4 of 12




where he was handcuffed by NFTA police officers “because they were afraid that he

was going to flee.” T. 31-33. At that point, S.A. Sullivan advised the defendant of his

rights by reading from his Miranda 2 card and then asked the defendant if he understood

his rights and if he was willing to answer questions to which the defendant replied “yes.”

He also asked the defendant if they could search his luggage bag and the defendant

stated that they could search it. T. 33, 34-35, 39, 46, 47. He then asked the defendant

if there was “anything dangerous in the bag that they needed to know about, any

contraband, any bombs, hand grenades, things like that” and the defendant said “no.”

T. 36.



                    Detective Zawierucha then took the defendant’s luggage bag and

conducted a search of it. In doing so, he found “a plastic bag wrapped in a tee shirt and

it had three brick type items that were duct taped.” T. 47. Having made this find, he

yelled out, “We found it.” T. 48, 52. Detective Zawierucha opened the three duct taped

bricks and observed U.S. currency inside. T. 48. Later it was determined that the

currency found amounted to approximately $65,000. A note was also found within the

package (Government Exhibit 1) which contained “a series of numbers” and the initial

“L.” Martinez’s nickname is “Lupe.” T. 15-16. Previously, when Martinez had been

arrested, Detective Higgins had been advised by S.A. Nanna that Martinez had told him

that the defendant would not have any heroin in his possession and that “he [the

defendant] only had money.” T. 14.




2
    Miranda v. Arizona, 384 U.S. 436 (1966)

                                                  -4-
    Case 1:14-cr-00079-LJV-HKS        Document 66       Filed 11/09/15    Page 5 of 12




                             DISCUSSION AND ANALYSIS

                 A. The Seizure Of The Defendant
                    And The Search Of His Luggage:

              The defendant argues that “the unlawful seizure of [his] person was a

violation of his Fourth Amendment rights and his subsequent ‘consent’ was the direct

product of that illegality” and therefore the evidence seized from his luggage must be

suppressed from use at his trial. Dkt. #65, p. 3. Basically, the defendant argues that

the agents lacked probable cause to arrest him and that when he was handcuffed and

escorted to the NFTA police office by a number of agents, he was under arrest. As a

result, this illegal detention of the defendant “rendered his consent to search his

luggage invalid because it was tainted by his unlawful confinement.” Dkt. #65, p. 4. For

the reasons that follow, this argument is rejected.



              A confidential informant, whose reliability had been established from past

events, (T. 5-6), had advised the agents in this case that Steven Martinez, the co-

defendant herein, “was involved in trafficking heroin in Buffalo (T. 5) and that his “source

of supply was coming to Buffalo from the New York City area to deliver approximately

800 grams of heroin.” T. 5, 16. The confidential informant also provided a description

of the person who would be delivering the heroin, to wit, “a black male, bald head,

heavier set” who would be “utilizing the Greyhound Bus service.”          T. 6, 16-17.    A

confidential informant also advised that Martinez would “be transporting a drug courier

to the [Greyhound] bus station.” T. 38.




                                            -5-
     Case 1:14-cr-00079-LJV-HKS                  Document 66           Filed 11/09/15         Page 6 of 12




                 In the afternoon of February 26, 2014, the confidential informant advised

Detective Cory Higgins, a member of the DEA Federal Task Force, that “Martinez was

on his way at that time to go meet with [his] source of supply.” T. 7. Since Martinez had

been under surveillance by agents, as were locations “utilized [by him] in the trafficking

of heroin (T. 6-7), he was observed leaving his “residence on Connecticut Street” (T. 8)

and surveilled to a location on West Delevan that had been described by the

confidential informant as one of Martinez’s drug houses. T. 6-7. At the West Delevan

location, an individual matching the description given by the confidential informant of the

drug courier from the New York City area, was observed entering Martinez’s

automobile. T. 8-9, 26. This vehicle with Martinez and his drug courier passenger

inside, were followed until “it ultimately stopped near the library downtown on Ellicott

Street” and the passenger (the defendant) “exited the vehicle with a wheeled luggage

bag.” Surveillance was maintained on the defendant while he “walked directly to the

[Greyhound] bus terminal.” 3            T. 9-10, 20. Admittedly, when the defendant entered the

bus station and was confronted by a number of agents and taken to the NFTA police

office and handcuffed, he was in custody. However, considering the totality of the

circumstances described above, the agents had sufficient legal probable cause to arrest

the defendant for his alleged involvement in drug trafficking with Martinez.



                 The information given by the confidential informant, including the

description of the drug courier, was substantially corroborated by the personal

observations of the agents during their surveillance of Martinez and the defendant.


3
  This Court takes judicial notice that the downtown public library located at 1 Lafayette Square, Buffalo, New York
is two blocks away from the Greyhound Bus station on 181 Ellicott Street.

                                                        -6-
    Case 1:14-cr-00079-LJV-HKS       Document 66      Filed 11/09/15    Page 7 of 12




             The Court's opinion in Gates gave credit to the proposition
             that because an informant is shown to be right about some
             things, he is probably right about other facts that he has
             alleged, including the claim that the object of the tip is
             engaged in criminal activity. 462 U.S., at 244, 103 S.Ct., at
             2335. Thus, it is not unreasonable to conclude in this case
             that the independent corroboration by the police of
             significant aspects of the informer's predictions imparted
             some degree of reliability to the other allegations made by
             the caller.

Alabama v. White, 496 U.S. 325, 331 - 332 (1990).



             The totality of the circumstances established in the evidentiary hearing of

May 26, 2015 is what must be considered in determining whether probable cause

existed for the arrest of the defendant on February 26, 2014 when he entered the bus

station. As the United States Supreme Court has stated:



             This totality-of-the-circumstances approach is far more
             consistent with our prior treatment of probable cause than is
             any rigid demand that specific “tests” be satisfied by every
             informant's tip. Perhaps the central teaching of our decisions
             bearing on the probable cause standard is that it is a
             “practical, nontechnical conception.” Brinegar v. United
             States, 338 U.S. 160, 176, 69 S.Ct. 1302, 1311, 93 L.Ed.
             1879 (1949). “In dealing with probable cause, ... as the very
             name implies, we deal with probabilities. These are not
             technical; they are the factual and practical considerations of
             everyday life on which reasonable and prudent men, not
             legal technicians, act.” Id., at 175, 69 S.Ct., at 1310.

Illinois v. Gates, 462 U.S. 213, 230 - 231 (1983); Maryland v. Pringle, 540 U.S. 366, 370

(2003).




                                           -7-
    Case 1:14-cr-00079-LJV-HKS         Document 66      Filed 11/09/15    Page 8 of 12




              It is also pointed point that these circumstances must be considered from

the perspective of a reasonable police officer in light of his training and experience.

United States v. Delossantos, 536 F.3d 155, 159 (2c Cir. 2008).


              Probable cause exists if a law enforcement official, on the
              basis of the totality of the circumstances, has sufficient
              knowledge or reasonably trustworthy information to justify a
              person of reasonable caution in believing that an offense has
              been or is being committed by the person to be arrested.”
              Gagnon, 373 F.3d at 236. “[T]he probable-cause standard is
              a practical, nontechnical conception that deals with the
              factual and practical considerations of everyday life on which
              reasonable and prudent men, not legal technicians, act.
              Because the standard is fluid and contextual, a court must
              examine the totality of the circumstances of a given arrest.”
              United States v. Delossantos, 536 F.3d 155, 159 (2d
              Cir.2008) (citations and internal quotation marks omitted).

United States v. Steppello, 664 F.3d 359, 363 - 364 (2d Cir. 2011).



              I observed the demeanor of Detective Higgins, S.A. Sullivan and Detective

Zawierucha during their testimony given in the evidentiary hearing of May 26, 2015 and

find them to be credible witnesses and accept their testimony as to the events of

February 26, 2014. In doing so, I have taken into account the investigative training and

experience of each witness and, based on their testimony, I find that the totality of the

circumstances described by them was based on “knowledge or reasonably trustworthy

information sufficient to warrant a person of reasonable caution in the belief an offense

has been committed by the person to be arrested” and therefore probable cause existed

for the arrest of the defendant when he entered the bus station. United States v.

Howard, 489 F.3d 484, 491 (2d Cir. 2007).




                                            -8-
    Case 1:14-cr-00079-LJV-HKS         Document 66       Filed 11/09/15    Page 9 of 12




              Since the defendant had been legally arrested, his argument that his

“consent” to search his luggage was the “direct product” of an illegal arrest thereby

requiring suppression of the evidence seized, fails. The burden of establishing the

validity of such “consent to search” is upon the government. Schneckloth v.

Bustamonte, 412 U.S. 218, 222 (1983); Bumper v. North Carolina, 391 U.S. 543, 548

(1968); Florida v. Royer, 460 U.S. 491, 497 (1983) (plurality opinion). The fact that the

defendant was in custody when he consented to the search of his luggage does not

affect the validity of the search since “custody alone has never been enough in itself to

demonstrate a coerced confession or consent to search.” United States v. Watson, 423

U.S. 411, 424 (1976); United States v. Garcia, 56 F.3d 418, 423 (2d Cir. 1995).



              The defendant offered no evidence at the evidentiary hearing held on

May 26, 2015. Having found the testimony of the government’s witness to be credible, I

find that the defendant knowingly and voluntarily consented to the search of his luggage

on February 26, 2014 and therefore the evidence retrieved from his luggage was

properly obtained.



                  B. Statement Of The Defendant:

              The defendant claims in his affidavit in support of his motion to suppress

evidence that he “was not read [his] Miranda rights until after [they] left the bus station

and just as [he] was being placed in a car.” Dkt. #33, p. 3, ¶ 10. This claim was refuted

by the testimony of Detective Higgins, S.A. Sullivan and Detective Zawierucha.

Detective Higgins testified that while the defendant was in the NFTA police office in the



                                             -9-
   Case 1:14-cr-00079-LJV-HKS        Document 66      Filed 11/09/15    Page 10 of 12




bus terminal, he observed and heard S.A. Sullivan “provide [the defendant] with his

Miranda warnings.” T. 11-12, 26-27. He further testified that when the defendant “was

removed from the bus terminal and placed into a vehicle,” he was again given “Miranda

warnings” by Task Force Agent Randy Frye. T. 27.



             S.A. Sullivan testified that while he and the defendant were in the NFTA

police office in the bus terminal, he “advised [the defendant] of his Miranda warnings” by

reading from DEA Form 13, a card containing advice of rights and warnings in

accordance with Miranda v. Arizona, 384 U.S. 436 (1966) which the defendant

acknowledged he understood. T. 33-34.



             Detective Zawierucha testified that he was present in the NFTA police

office in the bus terminal when he observed and heard S.A. Sullivan read the “Miranda

warnings to the defendant and heard the defendant acknowledge that he understood his

rights when asked by S.A. Sullivan.” T. 46.



             The defendant offered no evidence at the hearing and therefore, the

aforesaid testimony of Detective Higgins, S.A. Sullivan and Detective Zawierucha was

uncontroverted. As stated earlier, I find the testimony of these three witnesses to be

credible and therefore reject the defendant’s claim as to when he was advised of his

rights.




                                          - 10 -
   Case 1:14-cr-00079-LJV-HKS         Document 66       Filed 11/09/15    Page 11 of 12




                                      CONCLUSION

              Therefore, based on the foregoing, it is recommended that the defendant’s

motion to suppress the use of the evidence at his trial be in all respects denied.



              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:



              This Report, Recommendation and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

Report, Recommendation and Order in accordance with the above statue,

Fed.R.Crim.P. 58(g)(s) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).




              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

                                            - 11 -
   Case 1:14-cr-00079-LJV-HKS        Document 66      Filed 11/09/15   Page 12 of 12




portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:       November 9, 2015
             Buffalo, New York




                                          S/ H. Kenneth Schroeder, Jr.
                                          H. KENNETH SCHROEDER, JR.
                                          United States Magistrate Judge




                                          - 12 -
